                       Case 1:15-cv-00600-CMH-IDD Document 1-1 Filed 05/08/15 Page 1 of 1 PageID# 17
    JS44 (Rev. 12/12)                                                                   CIVIL COVER SHEET
    The JS44 civil cover sheel and Ihe infoniialion contained herein neither replace nor supplement the filing and serv ice ofpleadings orother papers asrequired  by law, for
                                                                                                                                                                            except as
    provided by local rules ofcoun. This form, approved by the Judicial Conference of the United States inScpleniber           isrequired for theuse ofthe Clerkc ofCourt
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    purpose ol initiating thecivildocket sheet. IShU IS'SIKl 'i'IIOXSON NHXTI'AGI: Ot- THIS FORM)
    I. (a) PLAINTIFFS                                                                                                     DEFENDANTS
    People for the Eihical Treatment of Animals, Inc.                                                                    United States Fish and Wildlife Service
                                                                                                                         and Sally Jewell, in her offlcial capacity as Secretary ofthe Interior

        (b) Count) of Residence of First l.isted Plaimin"                    Norfolk                                        County of Residence of First l.istcd Defendant
                                      im i:rri.\'i.'.s piAhviii-i c^si-sj                                                                                  as f' .V ruiKnircASHS oxi. rj
                                                                                                                            NOTE;      IN LAND CONDEMNATION CASES. USE THE LOCATION OF
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        (c) Attorneys (Iirm Same. Ai/Jn.ss. unJlelfphiaie S'umhcn                                                           Attorneys OfKmntn)
    Jeffrey S. Ke'rr. PETA Foundation
    1536 16th Street, NW
    Washington. DC 20036 202-540-2171

    II. BASIS OF JURISDICTION ll'Uuviin ••.VmOufHoxOnlyj                                                      III. CITIZENSHIP OF PRINCIPAL PARTIES O'lace an "X"inOneBatfor I'laiiiitfy
                                                                                                                       {ForOiwruly ( oscx Only)                                              and OneHoxfor D^emhnl)
•       I   U.S. Govcnniiciit                 •         Federal Question                                                                           rrf       DEK                                                PTF         DEF
               I'lainlifT                                 (IJ.S (iiin mmail Xoi a Piiny)                          Citizen of ThisSlate             O I       O     I   Incorporated «r Principal Place           O i        0 4
                                                                                                                                                                           of Business In This Slate


        2   U S Govcmiiicm                    a    4    Divcrsily                                                 Citizen of Another Slate         0   2     0     2   Incorporated (»»/Principal Place          O      5   •   5
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    IV. NATURE OF SUIT tfhtiL'                             "X" mOne fiox Only)
I       -      CONTRACT                                                    TORTS

        110 Insurance                             PERSONAL INJl!RV                   PERSONAL INJI RV             3 625 Drug Related Seizure           O 422 Appeal 28 use 158               O 375 False Claims Acl
        120 Manne                         CJ .''10 Air|>lanc                    3 .''65 Personal Injui>' -              ofProp«ny2l USC88I             O 423 Withdrawal                      O 400 Stale Reapponionnient
        1.50 Miller Acl                   3 .'>15 Aiiplaiie Pioduci                     Product Liability         3 690 Other                                28 use 157                      O 410 Antitrust
        140 Netioliable Instiiinicnl               Liability                    3 .W Health Care'                                                                                            O 430 Banks and Banking
        150 Recover) ol'0%cipa\inenl D .320 Assault. Libi'l ti                       Pharmaceutical                                                         PROPERTY RIGHTS                  O   450Coinmcrce
            A: Enforccnicnl of Judjiment       Slander                                   Personal Injiir)-                                             O 820 Copyrights                      O 460 Deponation
        151 Medicare Acl                 O 3.M Federal Eniployas'                        Product Liability                                             O S.30 Patent                         O 470 Racketeer Influenced and
        152 Reco\ crj of ncl'aiilled           LiaWlit)                         3    ?68 .\sbestos Personal                                            3 840 Trademark                                 Corrupt Organizations
            Student Loans                 O .^40 Marine                                  Injury Product                                                                                      O 480 Consumer Credit
           (Excludes Veleraiis)           3       .'*45 Marine Piodiict                  Ltabilitv                             labors                      SOTIAISECIIRITY                   O 490Cable.'SalTV
        153 Recover) of Oketpa)ineiu                   Liahilit)                    personal'fropert»             O 710 Fair Labor Standards           O 861 HIA (139511)                    O 850 Securities. Commodities'
            orVcleran'5 Beneflls          3       350 Motor Vcliicle            O 370 Other Fraud                        Act                           O 862 Black Lung (923)                      Exchange
        160 Stockholders' Suns            3       355 Motor Vehicle             O 371 Tnith in Lending            O 720 LaborWanagemeni                O 863 DIWC/DIWW (405(g))              a 890 Olher Statutor)'Actions
        190 Oiher Contract                             Product Liability        O 380 Other Personal                     Relations                     O 864 SSID Title XVI                  O 891 Agriculniral Acts
        195 Contract Product Liabilil)    3       3()0 Othei Personal                 Property Damage             O 740 Railu-ayLabor Act              O 865 RSI (405(g))                    O 893 Enxironmental Maners
        196 Pranclii:ie                          Injui)                         3 385 Property Damage             O 751 Family and Medical                                                   O 895 Freedom of Information
                                          3 .'62 Personal Injury •                       Product Liability               I.ea\e Acl                                                                    Acl
                                                       Mcdical Malptactice                                        O 790 Olher Labor Litigation                                               O 896 Arbitration
            RF^L PROPERTY                          CIML RIGHTS                      PRlSONERPETmONS               O 791 EmployeeRetirement                  FEDERAL TAX SUITS                S   899 Administrative Procedure
    O 210 tjnd CondeinniUion              3 440 Olher Civil Right.*                  llalKasCorpus;                      income Security Act           a   870 Taxes (U S. Plainliir               Act Re\iew or Appeal of
    d   220 Fnicclosnfe                   3 441 Voting                          3    463 Alien Detainee                                                        ot Defendant)                       Agency Decision
    O 2.iOKent Lease ifc Ejccttncnl       3 442 Kmploymcnl                      3    510 Motions to Vacate                                             O 871 IRS-Third Party                 O 950 Constilutionalily of
    O 240 Torts to Land                   • 44.' Housing'                                Sentence                                                                26 use 7609                           Slate Suitutes
    3 245 Ton IVi»)uct Liabitin                        Accommmbtions            3    530 General
    a 290 All Other Real IVopc'ny         3 445 Aincf. w "Disabilities          O 535 Death Penally                     - immigratiotT^
                                                       Kmploymcnl                    Olher:                       a 462 Naturalization Application
                                          3 446 Ainct. «'Disabilities           3    540 Mandamus & Other         O 465 Other Iraniigraiion
                                                Olher                           3 550 Civil Rights                       Actions
                                          3 44* Education                       3    555 Prison Condition
                                                                                3    560 Civil Detainee -
                                                                                         Conditions of
                                                                                        Confinement

    V, ORIGIN iPlatrwi ' X "m Out" ltii-\ f)nlvl
)g( 1 Original                  0 2 Keino\ed from                   D 3        Remanded from                 0 4 Reinstated or        O 5 Transferred from             •    6   Mullidistrict
            Proceeding                State Court                              Appellate Court                   Reopened                    Another District                   Litigation
                                                                                                                                             (vviiM
                                                   Cite the U.S. Civil Statute under which vou are filing (DohoiciieJurisiliaiuHatilattiin unlessditmliyj:
                                                    ESA. 16 U.S.C.                  1531-1544, FWS requfations. 50 C.F.R. Ch. 1. and the APA. 5 U.S.C. §§ 551-559.701-706
    VL CAUSE OF ACTION
                                                   Brief description of cause;
                                                    Defendants instituted an unlaurful Pay-to-Piay polic:y that violates these laws.
VII. REQUESTED IN                                  •     CllliCK IF THIS IS A CLASS ACTION                          DE.MA.\D S                                     CHECK YESonly if demanded in complaint;
            COMPLAINT:                                   DNDKR RULE 23. F R.Cv.P.                                                                                  JI RY DEMAND:                  •    Yes       O No
VIII. RELATED CASE(S)
              IF ANY                                                                                                    y                                  DOCKET NUMBER
DATE                                                                                J^TRATTW^F ATTOa                      RECORD

05/08/2015
FOR OFFICE I SE 0,\l.^


        RIXFIPT =                     AMOMN I                                           APPt.YING IFP                                     JtJDOF                                MAG. JUDGE
